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                     IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF FLORIDA (MIAMI DIVISION)


   UNITED STATES OF AMERICA                                  Case No.: 1:18-cr-20685-KMW

                  v.

   ABRAHAM EDGARDO ORTEGA,

                  Defendant.


                         NOTICE PURSUANT TO 31 C.F.R. § 501.605(c)

         Petróleos de Venezuela, S.A. (PDVSA) submits this notice pursuant to 31 C.F.R.

  § 501.605(c), a regulation promulgated by the U.S. Department of Treasury’s Office of Foreign

  Assets Control (OFAC).

         Section 501.605(c) provides that “[p]ersons initiating proceedings subject to the reporting

  requirements of this section must notify the court or other adjudicatory body of the restrictions

  set forth under the applicable part in this chapter governing the transfer of blocked property or

  funds retained pursuant to [31 C.F.R.] § 596.504(b).”

         This case may be subject to OFAC’s notification requirements because PDVSA, whose

  motion for victim status and restitution (DE 191) is pending, is currently designated as a blocked

  entity, and therefore this proceeding “may affect blocked property.” 31 C.F.R. § 501.605(a).

         PDVSA thus notifies the Court that OFAC’s regulations, set forth in Chapter 5 of Title 31

  of the Code of Federal Regulations, impose restrictions on the transfer of blocked property.

  Those restrictions include the prohibition on any unlicensed attachment, judgment, decree, lien,

  execution, garnishment or other judicial process with respect to any property in which, on or af-

  ter the applicable effective date, there existed an interest of any person whose property and
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  property interests were subject to blocking pursuant to 31 C.F.R. Chapter 5.

         On August 5, 2019, OFAC issued a general license authorizing U.S. persons “to engage

  in all transactions involving any person appointed by [Interim President of Venezuela Juan]

  Guaidó to the board of directors (including any ad hoc board of directors) or appointed as an ex-

  ecutive officer of a Government of Venezuela entity (including entities owned or controlled, di-

  rectly or indirectly by the Government of Venezuela) prohibited by [Executive Order] 13850, as

  amended by [Executive Order] 13857 of January 25, 2019.” OFAC, General License No. 31,

  https://www.treasury.gov/resource-center/sanctions/Programs/Documents/venezuela_gl31.pdf;

  see DE 191 at 16 (requesting that restitution be “paid to PDVSA under the direction of its ad hoc

  board” appointed by President Guaidó).
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   Dated: July 31, 2020                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 31, 2020, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which will deliver the document to all counsel of record.


  Dated: July 31, 2020                                /s/ Jason A. Ross
                                                      Jason A. Ross
